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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

 KYLE DAVID SCHMITT,

        Plaintiff,                                                      ORDER
 v.
                                                               Case No. 21-cv-616-wmc
 GRANT COUNTY SHERIFF'S
 DEPARTMENT/JAIL et al.

        Defendants.


       On September 29, 2021, the court entered an order giving plaintiff Kyle David Schmitt

until October 20, 2021, to submit a certified copy of plaintiff’s inmate trust fund account

statement (or institutional equivalent) for the six-month period immediately preceding the

filing of the complaint in support of plaintiff’s request to proceed without prepayment of the

filing fee. Now plaintiff has filed a letter requesting a waiver of pre-payment of the filing fee

because he is indigent and cannot afford to pay the copy cost to obtain the six-month account

statement. Plaintiff provides a letter from the sheriff’s records office responding to plaintiff’s

request for three copies of the statement, which they say consists of 11 pages, for a total of 33

pages, at the cost of $8.25 for the copies. Plaintiff only needs to submit one copy of his

statement to the court, not three copies. Because plaintiff may be able to obtain single copy

of the trust account statement, plaintiff may have an enlargement of time to provide the trust

fund account statement to November 30, 2021. If by November 30, plaintiff is still unable to

obtain a six-month trust fund account statement, plaintiff should submit documentation that

shows his indigency status or the efforts he has taken to obtain the account statement.




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                                             ORDER

        IT IS ORDERED that:

       1. Plaintiff Kyle David Schmitt’s motion for the court to waive pre-payment filing fee

in this case, dkt. 4, is DENIED without prejudice.

       2. Plaintiff may have an enlargement of time, until November 30, 2021, to submit a

certified trust fund account statement for the six-month period immediately preceding the

filing of the complaint. If, by November 30, 2021, plaintiff fails to respond to this order, I will

assume that plaintiff wishes to withdraw this action voluntarily. In that event, the case will be

closed without prejudice to plaintiff filing the case at a later date.




               Entered this 2nd day of November, 2021.

                                      BY THE COURT:


                                      /s/
                                      PETER OPPENEER
                                      Magistrate Judge




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